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Debtor 2                 _______BB____________BBBBB_______________BBBBBBBBBBBBBBBBBB_BBBBBBBB_
(Spouse, if filing)

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 GHEWRU¶VSULQFLSDOUHVLGHQFH\RXPXVWXVHWKLVIRUPWRJLYHQRWLFHRIDQ\FKDQJHVLQWKHLQVWDOOPHQWSD\PHQWDPRXQW)LOHWKLVIRUP
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                                                                                                 Must be at least 21 days after date
                                                                                                 of this notice                            
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                                                                                                 Principal, interest, and escrow, if any
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            No
        ✔
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        YDULDEOHUDWHDFFRXQW"
        ✔
            No
            Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
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           ✔
               No
               Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)
            5HDVRQIRUFKDQJH



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 Official Form 410S1                                                  1RWLFHRI0RUWJDJH3D\PHQW&KDQJH                                              page 1
                     5REHUW36HOODWL-U 5RELQ66HOODWL                                                                
      Debtor 1       _____BB_________________________________________________                             Case number (LINQRZQ) ______________________
                     First Name          Middle Name           Last Name




 3DUW 6LJQ+HUH


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.


 &KHFNWKHDSSURSULDWHER[

    
    ✔   I am the creditor.

       I am the creditor’s authorized agent.



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 LQIRUPDWLRQDQGUHDVRQDEOHEHOLHI




 8    /s/Jeremy Anthony
      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
      Signature
                                                                                    11/24/2020
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        Anthony, Jeremy                                                                            VP Loan Documentation
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        First Name                Middle Name                 Last Name              7LWOH


 Company Wells Fargo Bank, N.A.
         _B____________________BB____________________________________

 Address    MAC N9286-01Y
            ___________________________B_________BB______BB______________
            Number                       Street

            1000 Blue Gentian Road
            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
            $GGUHVV

             Eagan                                   MN      55121-7700
            BBBB_______________________________________________BBBBBBBB__
              City                                                       State      ZIPCode



                     800-274-7025                                                                  NoticeOfPaymentChangeInquiries@wellsfargo.com
 Contact phone BBBBBBBBBBBBBBBBBBBBBBBBB                                                         BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
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Official Form 410S1                                                       1RWLFHRI0RUWJDJH3D\PHQW&KDQJH                                                page 
                           UNITED STATES BANKRUPTCY COURT
                                                           Western District of Pennsylvania


                                                            Chapter 13 No. 1822227
                                                            Judge: Gregory L. Taddonio

In re:
Robert P. Sellati, Jr. & Robin S. Sellati
                                                  Debtor s 

                                                  CERTIFICATE OF SERVICE
I hereby certify that this Notice, including all attachments, is being served on or before November 25, 2020 via filing with the US
Bankruptcy Court's CM ECF system or by mailing or providing a copy of this document to a vendor for mailing: By U.S. Postal
Service First Class Main Postage Prepaid or FedEx.


Debtor:                                     %\863RVWDO6HUYLFH)LUVW&ODVV0DLO3RVWDJH3UHSDLGRU)HG([
                                            Robert P. Sellati, Jr. & Robin S. Sellati
                                            3121 Bethel Church Rd

                                            Bethel Park PA 15102



                                            %\863RVWDO6HUYLFH)LUVW&ODVV0DLO3RVWDJH3UHSDLGRU)HG([
                                            N/A




Debtor’s Attorney:                          %\&RXUW V&0(&)V\VWHPUHJLVWHUHGHPDLODGGUHVV
                                            Mark G. Moynihan
                                            Moynihan Law, P.C.
                                            2 Chatham Ctr Ste 230

                                            Pittsburgh PA 15219


                                            %\&RXUW V&0(&)V\VWHPUHJLVWHUHGHPDLODGGUHVV
                                            N/A




Trustee:                                    %\&RXUW V&0(&)V\VWHPUHJLVWHUHGHPDLODGGUHVV
                                            Ronda J. Winnecour
                                            Suite 3250, USX Tower
                                            600 Grant Street

                                            Pittsburgh PA 15219

                                                                  @@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@
                                                                  /s/Jeremy Anthony
                                                                   VP Loan Documentation
                                                                   Wells Fargo Bank, N.A.
                                 Return Mail Operations                                   Escrow Review Statement
                                 PO Box 14547
                                                                                          For informational purposes only
                                 Des Moines, IA 50306-4547
                                                                                          Statement Date:                              November 12, 2020
                                                                                          Loan number:
                                                                                          Property address:
                                                                                                3121 BETHEL CHURCH RD
                                                                                                BETHEL PARK PA 15102-1203


                                                                                          Customer Service
                                                                                                 Online                          Telephone
                                                                                                 wellsfargo.com                  1-800-340-0473
          ROBERT P SELLATI
                                                                                                 Correspondence                  Hours of operation
          3121 BETHEL CHURCH RD                                                                  PO Box 10335                    Mon - Fri 7 a.m. - 7 p.m. CT
          BETHEL PARK PA 15102                                                                   Des Moines, IA 50306
                                                                                                 To learn more, go to:
                                                                                                 wellsfargo.com/escrow


                                                                                                   We accept telecommunications relay service calls



PLEASE NOTE: If you are presently seeking relief (or have previously been granted
relief) under the United States Bankruptcy Code, this statement is being sent to you
for informational purposes only. The summaries below are based on the terms of the
loan and are provided for informational purposes only.
These amounts are governed by the terms of the loan unless otherwise reduced by an
order of the bankruptcy court. Because the amounts billed for the escrow items can
change over time, we review the escrow account at least once per year to ensure there
will be enough money to make these payments. Once the review is complete, we send
the escrow review statement, also known as the escrow account disclosure statement.
                                                                                             The escrow account has a shortage of
Here's what we found:
     • Required Minimum Balance: The escrow account balance is projected to                               $238.90
        fall below the required minimum balance. This means there is a shortage.

     •   Payments: As of the January 1, 2021 payment, the contractual portion of
         the escrow payment increases.



  Part 1 - Mortgage payment

         Option 1                Pay the shortage amount over 12 months
                                  Previous payment through New payment beginning with
                                  12/01/2020 payment date   the 01/01/2021 payment
                                                                                                Option 1: No action required
 Principal and/or interest                 $1,167.15                 $1,167.15

 Escrow payment                              $583.15                  $616.33               Starting January 1, 2021 the new contractual
 Total payment amount
                                                                                            payment amount will be $1,783.48
                                         $1,750.30                $1,783.48

         Option 2                Pay the shortage amount of $238.90
                                  Previous payment through New payment beginning with
                                  12/01/2020 payment date   the 01/01/2021 payment
                                                                                                Option 2: Pay shortage in full
 Principal and/or interest                 $1,167.15                 $1,167.15

 Escrow payment                              $583.15                  $596.42               Starting January 1, 2021 the new contractual
 Total payment amount                                                                       payment amount will be $1,763.57
                                         $1,750.30                 $1,763.57




                                                       See Page 2 for additional details.


                                        Note: If you are presently seeking relief (or have previously been granted relief) under the United
                                        States Bankruptcy Code, this coupon is being provided for informational purposes only. If your
                                        Chapter 13 plan calls for your Chapter 13 Trustee to make the on-going post-petition mortgage
                                        payments, please contact your attorney or the Trustee’s office before directly sending any
                                        amounts relating to this escrow shortage

                                                                  If you choose to pay the shortage in full as referenced in Option 2, detach this coupon
                                                                  and mail it along with a check for $238.90 to the address that appears on this coupon.
  ROBERT P SELLATI
                                                                  This payment must be received no later than January 1, 2021.


              Wells Fargo Home Mortgage
              PO Box 10394
              Des Moines, IA 50306-0394




         708                           3 10 02 00175030 00176357 00198920 00023890 0
                                                                                                                                             Page 2 of 3
                                                                                                                      Loan Number:


     Part 2 - Payment calculations
For the past review period, the amount of the escrow items was $4,989.09. For the coming year, we expect the amount paid from escrow to be
$7,157.09.

How was the escrow payment calculated?
To determine the escrow payment, we add the projected escrow items to be paid over the next 12 months. We base these projected amounts on any
escrow items that may have been paid in the past and any future anticipated payments to be made. We then divide the amounts by 12 payments to
determine the escrow amount.

The chart below includes any actual escrow disbursements as well as any shortage that may have been identified for the past three analysis periods up
through the date of the analysis.



Escrow comparison

                                                                                                                                       New monthly
                                   06/18 - 05/19     01/19 - 12/19        01/20 - 11/20    01/21 - 12/21
                                                                                                                      # of               escrow
                                     (Actual)          (Actual)             (Actual)       (Projected)
                                                                                                                     months              amount

Property taxes                           $5,143.68        $4,852.86          $4,989.09       $4,989.09        ÷         12       =          $415.76
Property insurance                      $2,145.00         $2,168.00              $0.00       $2,168.00        ÷         12       =          $180.67
Total taxes and insurance               $7,288.68         $7,020.86          $4,989.09        $7,157.09       ÷         12       =         $596.42
Escrow shortage                             $0.00             $35.47             $0.00        $238.90         ÷         12       =            $19.91**

Total escrow                            $7,288.68         $7,056.33          $4,989.09       $7,395.99        ÷         12       =          $616.33


**
 This amount is added to the payment if Option 1 on page 1 is selected.


Projected escrow account activity over the next 12 months
To determine if there will be a shortage or overage in the account, we calculate whether the amount of the lowest projected escrow balance will be
greater or less than the required minimum balance. This is determined by subtracting the required minimum balance from the lowest projected
balance. If the outcome is positive, there is an overage. If it is negative, there is a shortage. The calculation is below:


                                                                                                  (Calculated in Part 3 - Escrow account projections
Lowest projected escrow balance August, 2021                                    $953.94           table)

Minimum balance for the escrow account†                              -         $1,192.84          (Calculated as: $596.42 X 2 months)


Escrow shortage                                                     =          -$238.90


†
 The minimum balance includes a cash reserve to help cover any increase in taxes and/or insurance. To calculate the cash reserve for the escrow
account, we add the yearly escrow payments, and divide by 12. We take this amount and multiply it by 2 as allowed by state laws and/or the mortgage
contract to determine the cash reserve.
                                                                                                                                                      Page 3 of 3
                                                                                                                          Loan Number:



  Part 3 - Escrow account projections
Escrow account projections from January, 2021 to December, 2021
                                        What we
              Payments to               expect to                                                                Projected escrow        Balance required
Date            escrow                   pay out         Description                                                 balance              in the account
Dec 2020                                                 Starting balance                                              $1,171.67                   $1,410.57
Jan 2021           $596.42                    $0.00                                                                    $1,768.09                   $2,006.99
Feb 2021           $596.42                    $0.00                                                                   $2,364.51                    $2,603.41
Mar 2021           $596.42                  $762.52      ALLEGHENY COUNTY                                              $2,198.41                   $2,437.31
Apr 2021           $596.42                    $0.00                                                                   $2,794.83                    $3,033.73
May 2021           $596.42                    $0.00                                                                    $3,391.25                   $3,630.15
Jun 2021           $596.42                    $0.00                                                                   $3,987.67                    $4,226.57
Jul 2021           $596.42                    $0.00                                                                   $4,584.09                    $4,822.99
Aug 2021           $596.42                  $497.20      BETHEL PARK BORO (4)                                         $4,683.31                    $4,922.21
Aug 2021              $0.00                $3,729.37     BETHEL PARK SD                                                $953.94                 $1,192.84
Sep 2021           $596.42                    $0.00                                                                    $1,550.36                   $1,789.26
Oct 2021           $596.42                    $0.00                                                                    $2,146.78                   $2,385.68
Nov 2021           $596.42                    $0.00                                                                   $2,743.20                    $2,982.10
Dec 2021           $596.42                 $2,168.00     ERIE INS                                                      $1,171.62                   $1,410.52

Totals            $7,157.04                $7,157.09



  Part 4 - Escrow account history
Escrow account activity from January, 2020 to December, 2020
                      Deposits to escrow                   Payments from escrow                                                    Escrow balance
   Date      Actual      Projected Difference          Actual   Projected Difference             Description           Actual         Projected Difference
Jan 2020                                                                                      Starting Balance         $2,497.26       $1,353.96       $1,143.30
Jan 2020        $0.00         $583.15      -$583.15       $0.00             $0.00    $0.00                             $2,497.26       $1,937.11         $560.15

Feb 2020       $583.15        $583.15        $0.00        $0.00             $0.00    $0.00                             $3,080.41      $2,520.26          $560.15

Mar 2020     $1,166.30        $583.15      $583.15      $762.52        $762.52       $0.00    ALLEGHENY COUNTY         $3,484.19      $2,340.89        $1,143.30

Apr 2020        $0.00         $583.15      -$583.15       $0.00             $0.00    $0.00                             $3,484.19      $2,924.04          $560.15

May 2020       $583.15        $583.15        $0.00        $0.00             $0.00    $0.00                             $4,067.34       $3,507.19         $560.15

Jun 2020       $583.15        $583.15        $0.00        $0.00             $0.00    $0.00                             $4,650.49      $4,090.34          $560.15

Jul 2020       $583.15        $583.15        $0.00        $0.00             $0.00    $0.00                             $5,233.64       $4,673.49         $560.15

Aug 2020       $583.15        $583.15        $0.00      $497.20        $497.20       $0.00    BETHEL PARK BORO (4)     $5,319.59       $4,759.44         $560.15

Aug 2020        $0.00          $0.00         $0.00     $3,729.37     $3,593.14      $136.23   BETHEL PARK SD           $1,590.22       $1,166.30        $423.92

Sep 2020       $583.15        $583.15        $0.00        $0.00             $0.00    $0.00                              $2,173.37      $1,749.45        $423.92

Oct 2020       $583.15        $583.15        $0.00        $0.00             $0.00    $0.00                             $2,756.52      $2,332.60         $423.92

Nov 2020       $583.15        $583.15        $0.00        $0.00             $0.00    $0.00                             $3,339.67       $2,915.75        $423.92

Dec 2020        $0.00         $583.15      -$583.15    $2,168.00     $2,145.00      $23.00    ERIE INS                  $1,171.67      $1,353.90        -$182.23
(estimate)

Totals       $5,831.50    $6,997.80      -$1,166.30    $7,157.09     $6,997.86      $159.23




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